

People v Fusco (2023 NY Slip Op 51246(U))



[*1]


People v Fusco (Christopher)


2023 NY Slip Op 51246(U)


Decided on October 26, 2023


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 26, 2023
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 9th and 10th JUDICIAL DISTRICTS
PRESENT: : TIMOTHY S. DRISCOLL, J.P., JAMES P. McCORMACK, GRETCHEN WALSH, JJ



2021-334 D CR

The People of the State of New York, Respondent, 
againstChristopher Fusco, Appellant. 




Feldman and Feldman (Steven A. Feldman of counsel), for appellant.
Dutchess County District Attorney (Anna K. Diehn of counsel), for respondent.

Appeal from a judgment of the Justice Court of the Town of East Fishkill, Dutchess County (Fredrick D. Romig, J.), rendered January 12, 2021. The judgment convicted defendant, upon his plea of guilty, of criminal contempt in the second degree, and imposed sentence.




ORDERED that the judgment of conviction is affirmed.
In October 2020, defendant was arraigned on an accusatory instrument charging him with criminal contempt in the second degree (Penal Law § 215.50 [3]). Thereafter, on January 12, 2021, he pleaded guilty to the charge and was sentenced to time served.
On appeal, defendant contends that his waiver of appeal is unenforceable. A review of the record, however, indicates that defendant did not waive his right to appeal. Defendant also contends that the Justice Court improperly denied his speedy trial motion. Defendant's speedy trial contention is unpreserved for appellate review since it was not raised in his affidavit of errors (see People v Wahl, 75 Misc 3d 40, 45 [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2022]).
Accordingly, the judgment of conviction is affirmed.
DRISCOLL, J.P., McCORMACK and WALSH, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: October 26, 2023









